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 UNITED STATES DISTRICT COURT                                                              5/22/2025 12:12 pm
 EASTERN DISTRICT OF NEW YORK                                                              U.S. DISTRICT COURT
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 UNITED STATES OF AMERICA,                                                                 LONG ISLAND OFFICE

          - against -                                                          ORDER TO
                                                                               SHOW CAUSE
 VLADIMIR ANTONIO AREVALO-CHAVEZ                                               22-CR-429 (JMA)(AYS)
       also known as “Vampiro de Monserrat
       Criminales,”
 JOSE WILFREDO AYALA-ALCANTARA
       also known as “Indio de Hollywood,”
 EDWIN ERNESTO CEDILLOS-RODRIGUEZ
       also known as “Renuente de Abriles
       Dangers,”
 JORGE ALEXANDER DE LA CRUZ
       also known as “Cruger de Peatonales,”
 WALTER YOVANI HERNANDEZ-RIVERA
       also known as “Baxter de Park View,”
       and “Bastard de Park View,”
 JUAN ANTONIO MARTINEZ-ABREGO
       also known as “Mary Jane de Hollywood,”
 MARLON ANTONIO MENJIVAR-PORTILLO
       also known as “Rojo de Park View,”
 CARLOS TIBERIO RAMIREZ-VALLADARES
       also known as “Snayder de Pasadena,”
 DANY FREDY RAMOS-MEJIA
       also known as “Cisco de Teclas,”
 FRANCISCO JAVIER ROMAN-BARDALES
       also known as “Veterano de Tribus,”
 DANY BALMORE ROMERO-GARCIA
       also known as “Big Boy de Normandies,”
        “Dig Boy de Normandies,” and
       “D Boy de Normandies,
 RUBEN ANTONIO ROSA-LOVO
       also known as “Chivo de Centrales,” and
 MIGUEL ANGEL SERRANO-MEDINA
       also known as “Cabro de Park View,”

                              Defendants.
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 AZRACK, United States District Judge:

          The Government’s April 30, 2025 letter discussed, for the first time, specific charges that

 have been brought against Defendant Vladimir Antonio Arevalo-Chavez (“Defendant”) in El



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 Salvador. (ECF No. 170). The Government’s April 30, 2025 letter also asserted that sealing was

 warranted because—in addition to the bases for sealing previously asserted by the Government—

 the Government’s April 30, 2025 letter discusses “the details of charges pending against the

 defendant in a foreign country, which may not have been made public there.” (ECF No. 170 at 4

 (emphasis added).) The Government also asserted that, “in an abundance of caution,” sealing was

 warranted “to protect the integrity of the foreign prosecutions.”         (Id.)   The Government

 subsequently provided certain documents to the Court and, in those filings, reasserted the above

 grounds for sealing. (See ECF Nos. 173, 175.)

        Because the Government’s April 30, 2025 letter discussed the details of specific charges

 for the first time (and was filed after the Court’s April 14, 2025 Order to Show Cause), the Court

 grants the Government an additional opportunity to explain why ECF Nos. 170, 173, 174, and 175

 should not be unsealed.

        The Government’s argument that the “details” about these charges in its recent filings

 warrant sealing raises certain questions. The Court directs the Government to address the issues

 set out below.

        First, the Government’s letters are vague as to whether or not the details of the charges and

 the related documents provided as exhibits are publicly available in El Salvador or elsewhere. It

 is difficult to see how the details of these charges could possibly warrant continued sealing when

 the Government does not even know if the charges and documents at issue “have been made

 public” in El Salvador.

        Second, the Government’s April 30 letter states that “the INTERPOL RED Notice for the

 defendant” is publicly available. (ECF No. 170 at 2.) As such, there appears to be no reason to

 seal the INTERPOL Red Notice (or any references to the notice in the Government’s filings). The




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 public availability of the INTERPOL Red Notice would also appear to weigh against sealing

 documents or information concerning the underlying charge referenced in the INTERPOL Red

 Notice.

           Third, it is difficult to see how public disclosure of the details of the charges contained in

 the Government’s filings (or the documents provided as exhibits) would impair the “integrity of

 the foreign prosecutions” when Defendant himself has already been provided with this information

 and these documents through the instant proceeding. If the charges against other defendants named

 in the exhibits are not public, the Government can request that the exhibits be redacted.

 SO ORDERED.

 Dated: May 22, 2025
 Central Islip, New York
                                                                 /s/ (JMA)
                                                         JOAN M. AZRACK
                                                         UNITED STATES DISTRICT JUDGE




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